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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 14-0197-01


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 DAVID RAY DEAN                                   *     MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea

hearing and allocution of the defendant, David Ray Dean, on February 18, 2015. Defendant was

present with his counsel, Mr. Walt Caldwell.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Count One of

the Indictment, is fully supported by a written factual basis for each of the essential elements of

the offense. Therefore,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

defendant, David Ray Dean, in accordance with the terms of the plea agreement filed in the

record of these proceedings, and that David Ray Dean be finally adjudged guilty of the offense

charged in Count One of the Indictment.

       IT IS FURTHER RECOMMENDED that the District Court ACCEPT defendant’s
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agreement to forfeit and abandon his rights, title, and interest in the $310 recovered from his

residence pursuant to the instant investigation and prosecution.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

have fourteen (14) days from service of this Report and Recommendation to file specific,

written objections with the Clerk of Court. A party may respond to another party’s objections

within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

objection or response or request for extension of time shall be furnished to the District Judge at

the time of filing. Timely objections will be considered by the District Judge before he makes a

final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        In Chambers, at Monroe, Louisiana, this 18th day of February 2015.



                                                      __________________________________
                                                      KAREN L. HAYES
                                                      UNITED STATES MAGISTRATE JUDGE
